                                      United States Bankruptcy Court
                                        Northern District of Ohio
In re:                                                                                  Case No. 18-11975-jps
Patricia Anne Donofrio                                                                  Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0647-1           User: admin                  Page 1 of 2                   Date Rcvd: Apr 06, 2018
                               Form ID: 309A                Total Noticed: 38


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 08, 2018.
db             +Patricia Anne Donofrio,    5466 Pleasant Street,     North Ridgeville, OH 44039-2252
25379329       +ASPIRE,    P.O. BOX 790317,    ST. LOUIS, MO 63179-0317
25379327        AT&T UNIVERSAL CARD,    P.O. BOX 79001037,      LOUISVILLE, KY 40290-1037
25379331        BANK OF AMERICA,    P.O. BOX 7982234,     EL PASO, TX 79998-2234
25379332       +BEST BUY,    P.O. BOX 9001007,     LOUISVILLE, KY 40290-1007
25379330        BP,   P.O. BOX 7530942,     ATLANTA, GA 30353-0942
25379339       +DISCOVER,    ATTN: PRESIDENT,    502 EAST MARKET STREET,    GREENWOOD, DE 19950-9700
25379340       +DOMINIC DONOFRIO,    5466 PLEASANT AVENUE,    NORTH RIDGEVILLE, OH 44039-2252
25379341       +ELYRIA MEDICAL CENTER,    630 RIVER STREET,     ELYRIA, OH 44035-5902
25379342        FIRST NATIONAL BANK OF OMAHA,     P.O.BOX 2557,    OMAHA, NE 68103-2557
25379348       +JC PENNEY,    6501 LEGACY DRIVE,    PLANO, TX 75024-3698
25379349       +JP MORGAN CHASE,    P.O. BOX 24696,    COLUMBUS, OH 43224-0696
25379352       +PNC BANK,    1900 EAST NINTH STREET,    CLEVELAND, OH 44114-3484
25379358      #+SYNCHRONY BANK,    200 CROSSING BLVD,    BRIDGEWATER, NJ 08807-2861

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: docket@ohbksource.com Apr 06 2018 21:28:43        William J. Balena,
                 30400 Detroit Road,    Suite 106,   Westlake, OH 44145
tr             +EDI: FKBCONIGLIO Apr 07 2018 01:14:00      Kari B. Coniglio,      200 Public Square,    Suite 1400,
                 Cleveland, OH 44114-2327
ust            +E-mail/Text: ustpregion09.cl.ecf@usdoj.gov Apr 06 2018 21:29:20         Cynthia J. Thayer,
                 US Department of Justice,    201 Superior Avenue,     Suite 441,    Cleveland, OH 44114-1234
25379328        EDI: APPLIEDBANK.COM Apr 07 2018 01:14:00       APPLIED BANK,     P.O. BOX 17125,
                 WILMINGTON, DE 19850-7125
25379333       +EDI: CAPITALONE.COM Apr 07 2018 01:14:00       CAPITAL ONE,    P.O. BOX 6492,
                 CAROL STREAM, IL 60197-6492
25379335        EDI: CAPITALONE.COM Apr 07 2018 01:14:00       CAPITAL ONE BANK USA,     15000 CAPITAL ONE DRIVE,
                 RICHMOND, VA 23238
25379334       +EDI: CAPONEAUTO.COM Apr 07 2018 01:14:00       CAPITAL ONE AUTO FINANCE,     P.O. BOX 60511,
                 CITY OF INDUSTRY, CA 91716-0511
25379336       +EDI: CITICORP.COM Apr 07 2018 01:14:00       CITIBANK,    701 EAST 60TH STREET, N,
                 SIOUX FALLS, SD 57104-0493
25379337       +EDI: CITICORP.COM Apr 07 2018 01:14:00       CITIBANK - SHELL,     701 EAST 60TH STREET, N,
                 SIOUX FALLS, SD 57104-0493
25379338       +EDI: RCSFNBMARIN.COM Apr 07 2018 01:13:00       CREDIT ONE BANK,     ATTN: PRESIDENT,
                 P.O. BOX 98872,    LAS VEGAS, NV 89193-8872
25379343       +EDI: AMINFOFP.COM Apr 07 2018 01:13:00       FIRST PREMIER BANK,     3820 NORTH LOUISE AVENUE,
                 SIOUX FALLS, SD 57107-0145
25379344       +EDI: AMINFOFP.COM Apr 07 2018 01:13:00       FIRST PREMIER BANK,     ATTN: PRESIDENT,
                 3820 NORTH LOUISE AVENUE,    SIOUX FALLS, SD 57107-0145
25379345       +EDI: WFNNB.COM Apr 07 2018 01:14:00      GIANT EAGLE,     P.O. BOX 182789,
                 COLUMBUS, OH 43218-2789
25379346       +EDI: CITICORP.COM Apr 07 2018 01:14:00       HOME DEPOT,    ATTN: PRESIDENT,     P.O. BOX 6497,
                 SIOUX FALLS, SD 57117-6497
25379347       +E-mail/Text: bankruptcy@huntington.com Apr 06 2018 21:30:03         HUNTINGTON BANK,
                 P.O. BOX 1558,   COLUMBUS, OH 43216-1558
25379350       +EDI: RMSC.COM Apr 07 2018 01:14:00      LOWES,    P.O. BOX 965005,     ORLANDO, FL 32896-5005
25379351       +EDI: MERRICKBANK.COM Apr 07 2018 01:13:00       MERRICK BANK,     P.O. BOX 9201,
                 OLD BETHPAGE, NY 11804-9001
25381297       +EDI: PRA.COM Apr 07 2018 01:13:00      PRA Receivables Management, LLC,      PO Box 41021,
                 Norfolk, VA 23541-1021
25379353        E-mail/Text: bk@revenuegroup.com Apr 06 2018 21:30:59        REVENUE GROUP,
                 4780 HINCKLEY INDUSTRIAL PKWY, #200,    CLEVELAND, OH 44109
25379354       +EDI: RMSC.COM Apr 07 2018 01:14:00      SAMS CLUB,     P.O. BOX 965005,    ORLANDO, FL 32896-5005
25379355       +EDI: SEARS.COM Apr 07 2018 01:14:00      SEARS,    3333 BEVERLY ROAD,
                 HOFFMAN ESTATES, IL 60179-1999
25379356       +EDI: CHASE.COM Apr 07 2018 01:14:00      SLATE,    P.O. BOX 15298,     WILMINGTON, DE 19850-5298
25379359       +EDI: WTRRNBANK.COM Apr 07 2018 01:14:00       TARGET,    1000 NICOLLET MALL,
                 MINNEAPOLIS, MN 55403-2542
25379360        EDI: USBANKARS.COM Apr 07 2018 01:13:00       US BANK,    4801 FREDERICA STREET,
                 OWENSBORO, KY 42301
                                                                                                 TOTAL: 24

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
25379357         SUNOCO,   P.O. BOX 321
cr*             +PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
                                                                                               TOTALS: 1, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.




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                                      Form ID: 309A                      Total Noticed: 38


             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 08, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 6, 2018 at the address(es) listed below:
              Kari B. Coniglio   kbconiglio@vorys.com,
               mdwalkuski@vorys.com;jahouser@vorys.com;tjbrooks@vorys.com;kbc@trustesolutions.net
              William J. Balena   on behalf of Debtor Patricia Anne Donofrio docket@ohbksource.com,
               debra@ohbksource.com
                                                                                            TOTAL: 2




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Information to identify the case:
Debtor 1              Patricia Anne Donofrio                                            Social Security number or ITIN        xxx−xx−9206
                      First Name    Middle Name     Last Name                           EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name    Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             Northern District of Ohio
                                                                                        Date case filed for chapter 7 4/4/18
Case number:          18−11975−jps


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                    About Debtor 2:

1.      Debtor's full name                        Patricia Anne Donofrio

2.      All other names used in the
        last 8 years

3.     Address                                5466 Pleasant Street
                                              North Ridgeville, OH 44039

4.     Debtor's attorney                      William J. Balena                                     Contact phone (440) 365−2000
                                              30400 Detroit Road
       Name and address                       Suite 106                                             Email: docket@ohbksource.com
                                              Westlake, OH 44145

5.     Bankruptcy trustee                     Kari B. Coniglio                                      Contact phone (216) 479−6167
                                              200 Public Square
       Name and address                       Suite 1400                                            Email: kbconiglio@vorys.com
                                              Cleveland, OH 44114
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




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Debtor Patricia Anne Donofrio                                                                                          Case number 18−11975−jps


6. Bankruptcy clerk's office                    United States Bankruptcy Court                                Hours open 9:00 AM − 4:00 PM
                                                Howard M. Metzenbaum U.S. Courthouse
    Documents in this case may be filed at this 201 Superior Avenue                                           Contact phone 216−615−4300
    address. You may inspect all records filed Cleveland, OH 44114−1235
    in this case at this office or online at
    www.pacer.gov.                                                                                            Date: 4/6/18
    www.ohnb.uscourts.gov.


7. Meeting of creditors                           May 14, 2018 at 09:00 AM                                    Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              341 Meeting, H.M.M. US
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            Courthouse, 201 Superior Ave,
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.                                                     6th Floor, Cleveland, OH 44114

                                                          *** Valid photo identification required ***
                                                      *** Proof of Social Security Number required ***


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 7/13/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2




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